| }
id |
HX |\
V/ >
te

 

 

 

(~ I\} “ase 3:23-cr-00164-M Document1 Filed 04/25/23 Page1lof3 PagelD1
OVP US DISTRICT COURT
wd j h NORTHERN D [RICT OF TEXAS |
_ FILED |
IN THE UNITED STATES DISTRICT COURT | | |
FOR THE NORTHERN DISTRICT OF TEXAS _ | |
DALLAS DIVISION
UNITED STATES OF AMERICA NO. ~"B . : “ ” - r/
v, 3.28CR0164-M
SERGIO RAYMUNDO CRUZ
INDICTMENT

The Grand Jury charges:
Count One
Possession of a Firearm by a Convicted Felon
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

On or about December 17, 2022, in the Dallas Division of the Northern District of
Texas, the defendant, Sergio Raymundo Cruz, knowing that he had been convicted in a
court of a crime punishable by imprisonment for a term exceeding one year, that is, a
felony offense, did knowingly possess, in and affecting interstate and foreign commerce,
a firearm, to wit: a Glock, Model 22, .40 caliber pistol, bearing serial number

BTK067US.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

Indictment—Page 1
 

Case 3:23-cr-00164-M Document1 Filed 04/25/23 Page 2of3 PagelD 2

Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction for the offense alleged in Count One of this Indictment, and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant, Sergio
Raymundo Cruz, shall forfeit to the United States of America any firearm and
ammunition involved or used in the commission of the offense, including but not limited
to the following:

1. a Glock, Model 22, .40 caliber pistol, bearing serial number BTK067US; and
any ammunition recovered with the firearm.

A TRUE BILL: |
/
~

/ /| / i
Wd

FOREPERSON

LEIGHA SIMONTON
UNITED STATES ATTORNEY

SSA

JOHN J. BOYLE. ()

Assistant United States Attorney
Texas Bar No. 00790002

1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699

Tel: 214-659-8617

Fax: 214-659-8805

Email: John.Boyle2@usdoj.gov

Indictment—Page 2

 
 

Case 3:23-cr-00164-M Document1 Filed 04/25/23 Page 3of3 PagelD 3

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

 

V.
SERGIO RAYMUNDO CRUZ
INDICTMENT

18 U.S.C. §§ 922(g)(1) and 924(a)(8)
Possession of a Firearm by a Convicted Felon
(Count 1)

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

1 Count

  
  

 

A true bill rendered

DALLAS WM FOREPERSON

Filed in open court this C5 day of April, 2023. —

 

Warrant to be Issued f) Lo } .

Ah i

POD STATES "MAGISTRATE JUDGE )
No mal Matter Pending

     

 
